Case 2:24-cv-00371-PA-AGR Document 58-2 Filed 05/20/24 Page 1 of 7 Page ID #:951




                          EXHIBIT B
Case 2:24-cv-00371-PA-AGR
             Case 18-10601-MFW
                            Document
                                 Doc 58-2
                                     2902 Filed
                                           Filed05/20/24
                                                 08/03/20 Page
                                                           Page2 of
                                                                 1 of
                                                                    7 6Page ID #:952




                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


      In re:                                                   Chapter 11

      THE WEINSTEIN COMPANY HOLDINGS                           Case No. 18-10601 (MFW)
      LLC, et al.,1
                                                               Hearing Date: 8/4/2020 at 10:30 a.m. (ET)
                                        Debtors.
                                                               Re: D.I. 2859 & 2895



                    NON-SETTLING PLAINTIFFS’ SUPPLEMENTAL OBJECTION TO:

                   DEBTORS’ AMENDED MOTION FOR ENTRY
        OF AN ORDER (I) ESTABLISHING DEADLINES FOR FILING PROOFS OF
       CLAIM SOLELY WITH RESPECT TO TORT CLAIMS, (II) APPROVING FORM
      AND MANNER OF NOTICE THEREOF, AND (III) GRANTING RELATED RELIEF

               Wedil David and Dominique Huett (together, the “Non-Settling Plaintiffs”), by and

  through their undersigned counsel, hereby submit this Supplemental Objection to the Debtors’

  Amended Motion for Entry of an Order (I) Establishing Deadlines for Filing Proofs of Claim

  Solely with Respect to Tort Claims, (II) Approving Form and Manner of Notice Thereof, and (III)

  Granting Related Relief [D.I. 2895] (the “Amended Bar Date Motion”)2, and respectfully state as

  follows:

                                          RELEVANT BACKGROUND

               1.     On June 30, 2020, the Debtors filed Debtors’ Motion for Entry of an Order (I)

  Establishing Deadlines for Filing Proofs of Claim Solely with Respect to Tort Claims, (II)


  1
     The last four digits of The Weinstein Company Holdings LLC’s federal tax identification number are 3837. The
  mailing address for The Weinstein Company Holdings LLC is 99 Hudson Street, 4th Floor, New York, New York
  10013. Due to the large number of debtors in these cases, which are being jointly administered for procedural purposes
  only, a complete list of the Debtors and the last four digits of their federal tax identification numbers is not provided
  herein. A complete list of such information may be obtained on the website of the Debtors’ claims and noticing agent
  at http://dm.epiq11.com/twc.

  2
   Unless defined herein, capitalized terms shall have the meanings ascribed to them in the Joint Chapter 11 Plan of
  Liquidation or the Amended Bar Date Motion.


  {00028766. }
                                                        Exhibit B
                                                         Page 27
Case 2:24-cv-00371-PA-AGR
             Case 18-10601-MFW
                            Document
                                 Doc 58-2
                                     2902 Filed
                                           Filed05/20/24
                                                 08/03/20 Page
                                                           Page3 of
                                                                 2 of
                                                                    7 6Page ID #:953




  Approving Form and Manner of Notice Thereof, and (III) Granting Related Relief [D.I. 2859] (the

  “Initial Bar Date Motion”).

            2.     On July 14, 2020, the Non-Settling Plaintiffs filed their Limited Objection [D.I.

  2873] to the Initial Bar Date Motion.

            3.     On July 21, 2020, the Non-Settling Plaintiffs filed their Motion to Convert Debtors’

  Chapter 11 Cases to Chapter 7 [D.I. 2884] (the “Motion to Convert”).

            4.     On July 28, 2020, the Debtors filed the Debtors’ and the Committee’s Motion to

  Continue Hearing on Non-Settling Plaintiffs’ Motion to Convert Debtors’ Chapter 11 Cases to

  Chapter 7 [D.I. 2891] (the “Motion to Adjourn”).

            5.     On July 31, 2020, the Debtors filed the Amended Bar Date Motion [D.I. 2895].

  The Amended Motion states the Limited Objection is moot but invites the Non-Settling Plaintiffs

  to supplement their Limited Objection.

            6.     The Amended Bar Date Motion suggests the possible sequencing of events for these

  cases, as follows: the Court considers for approval the Amended Bar Date Motion and then one of

  two paths is followed. If the Debtors and Committee reach a new deal by August 31, the Debtors

  and Committee will submit a Revised Plan by that date. If a deal is not agreed upon, the Debtors

  will submit their own Motion to Convert.3 If a Revised Plan is submitted, the Debtors intend to

  object to the Motion to Convert “on a proper briefing schedule established by the Court.” See

  Amended Bar Date Motion at 4, n. 4.




  3
   It is unclear why the Debtors would incur the expense of teeing up their own motion to convert when the Motion to
  Convert is already pending. If conversion is ordered, the Non-Settling Plaintiffs will work with the Debtors on a
  consensual form of Conversion Order.

  {00028766. }                                            2

                                                     Exhibit B
                                                      Page 28
Case 2:24-cv-00371-PA-AGR
             Case 18-10601-MFW
                            Document
                                 Doc 58-2
                                     2902 Filed
                                           Filed05/20/24
                                                 08/03/20 Page
                                                           Page4 of
                                                                 3 of
                                                                    7 6Page ID #:954




                                         SUPPLEMENTAL OBJECTION

  I.         The Non-Settling Plaintiffs Object to the Proposed Sequencing.

             7.       There are two separate, possible conversion events in the near term: (a) the Debtors

  fail to submit a Revised Plan by August 31 and, separately, (b) the Motion to Convert. The Non-

  Settling Plaintiffs readily perceive the Debtors’ strategy of delaying adjudication of the Motion to

  Convert to gain momentum for confirmation of a Revised Plan. In fact, the Debtors advise they

  are working “feverishly” to do so. Motion to Adjourn at ¶ 6. That zeal, however, should be

  tempered by good stewardship and conservation of the estates’ assets. It is premature for the Court

  to consider the Amended Bar Date Motion. The Amended Bar Date Motion should not be

  considered until the later of August 31 and the Court’s adjudication of the Motion to Convert.

  First, the Debtors’ estates should not incur the substantial expense4 of setting and promulgating a

  tort bar date notice before there is clarity that these cases will remain in chapter 11 and the Debtors

  will be permitted to go forward with a Revised Plan.                      Second, the tort claimants located

  domestically, Canada, Ireland ,the U.K., and possibly other jurisdictions, should not be forced to

  incur the time and expense to comply with the Bar Date (or hire counsel to do so) until it is clear

  a Revised Plan is going to be put forward.




  4
      The proposed notice procedures will be costly:

            Mail/email notice to 59,000 individuals on the Contact List;
            Publication in the following newspapers: The Hollywood Reporter, Variety and The New York Post;
            Online publication for 45 days on the following websites: The New York Post (nypost.com), Page 6
             (page6.com), The Sun (thesun.co.uk), The Toronto Star (thestar.com) and potentially other media resources;
            Informational release to Screen Actors Guild-American Federation of Television and Radio Artists (SAG-
             AFTRA), Actor's Equity Association (U.S.), British Actors' Equity Association, Actors' Guild of Great
             Britain, Alliance of Canadian Cinema, Television and Radio Artists (ACTRA), and Canadian Actors' Equity
             Association; and
            Sponsored search listings on Google, Yahoo! and Bing.

  {00028766. }                                               3

                                                        Exhibit B
                                                         Page 29
Case 2:24-cv-00371-PA-AGR
             Case 18-10601-MFW
                            Document
                                 Doc 58-2
                                     2902 Filed
                                           Filed05/20/24
                                                 08/03/20 Page
                                                           Page5 of
                                                                 4 of
                                                                    7 6Page ID #:955




            8.    In the event these cases convert to chapter 7, a tort bar date will not be of any benefit

  to a chapter 7 trustee in his or her administration of the estates. The Non-Settling Plaintiffs will

  seek stay relief by motion/stipulation to return to their respective tribunals of competent

  jurisdiction, have their day in court before a jury, and, to the extent a judgment is realized, collect

  insurance proceeds to the extent coverage is available.

  II.       The Motion to Convert Should be a Gating Issue

            9.     The Court should decide as a threshold matter whether these cases should remain

  in chapter 11 or convert to chapter 7. The Non-Settling Plaintiffs believe this should be discussed

  at the August 4 status conference. Without limitation, in the Non-Settling Plaintiffs’ view:

                         The so-called “proper briefing schedule” for the Motion to Convert is
                          illusory and interposed for delay purposes only. There is no substantive
                          basis to administer the Debtors’ assets in chapter 11 as the Debtors
                          previously acknowledged by filing their own motion to convert. The only
                          relevant topic is the good faith of the Revised Plan and whether it is put
                          forward for the benefit of the insurance companies or tort victims.

                         A Revised Plan funded by insurance companies cannot be for and in the
                          best interests of tort victims.

                         Because the true plan proponents are insurance companies, and insurance
                          proceeds are paying professionals’ fees and expenses, that compromises the
                          professionals’ duty of loyalty.       They no longer are disinterested
                          professionals. For example, the Debtors previously sought to prosecute
                          D&O claims, and other claims against Former Directors and Officers. See
                          Application/Motion to Employ/Retain Bernstein Litowitz Berger &
                          Grossmann, LLP as Special Litigation Counsel to the Debtors Nunc Pro
                          Tunc to May 1, 2019 [DI 2337]. But this will surely not be the case in the
                          Revised Plan because the persons and entities creating that Plan will not bite
                          the hand that feeds them. In fact, the Revised Plan most likely will seek
                          broad releases to protect the Former Directors and Officers as tortfeasors
                          and affirmatively pay some of them millions of dollars.

                         Finally, the Revised Plan will provide insurance companies with an
                          opportunity to re-write downward their existing policy limits. Instead of
                          the towers of policies that currently exist, a fixed sum will be offered and
                          no more.


  {00028766. }                                       4

                                                Exhibit B
                                                 Page 30
Case 2:24-cv-00371-PA-AGR
             Case 18-10601-MFW
                            Document
                                 Doc 58-2
                                     2902 Filed
                                           Filed05/20/24
                                                 08/03/20 Page
                                                           Page6 of
                                                                 5 of
                                                                    7 6Page ID #:956




  III.      The Non-Settling Plaintiffs’ Initial Limited Objection is not Moot

            10.    The Debtors and the Committee claim that the Non-Settling Plaintiffs’ initial

  limited objection is moot because under their “forthcoming revised plan of liquidation, all holders

  of Tort Claims will be in the same class and their claims will be liquidated in a manner consistent

  with claims adjudication processes in mass tort bankruptcy cases.” See Amended Bar Date Motion

  at 7, n. 5.

            11.    The Limited Objection is not moot and the Non-Settling Plaintiffs object to any tort

  claims’ bar date. Outside the plan process, there are, upon information and belief, towers of

  insurance coverage with an aggregate coverage limit that is a multiple of what the insurance

  companies will offer in the Revised Plan. The insurance companies are motivated to limit the

  amounts of available coverage/defense costs. The plan process is the way to achieve that goal.

            12.    The first step is to negotiate with Settlement Parties that have little plaintiff-side

  representation. The second step is to negotiate with professionals representing out-of-the- money

  constituents that are uninsured but need insurance proceeds to cover fees and expenses/provide the

  appearance of a recovery. That “negotiation” leads to the declaration that only $46,786,000 is

  available to fund a plan even though there actually is far more coverage. There should be no doubt

  the insurance companies are agreeing to this because they could not achieve a better result if they

  had to defend these matters before juries and pay defense costs and verdicts. The next step is to

  silence the victims and survivors of Harvey Weinstein and deny them access to all available

  insurance coverage by forcing them to participate in the plan process. That is accomplished

  through a bar date.



                                     [Signature follows on next page]



  {00028766. }                                       5

                                                Exhibit B
                                                 Page 31
Case 2:24-cv-00371-PA-AGR
             Case 18-10601-MFW
                            Document
                                 Doc 58-2
                                     2902 Filed
                                           Filed05/20/24
                                                 08/03/20 Page
                                                           Page7 of
                                                                 6 of
                                                                    7 6Page ID #:957




            WHEREFORE, the Non-Settling Plaintiffs respectfully request that the Court deny the

  Amended Bar Date Motion and for such other and further relief as is just and proper.



  Dated: August 3, 2020                                  Respectfully submitted,
         Wilmington, Delaware
                                                         THE ROSNER LAW GROUP LLC

                                                         /s/ Frederick B. Rosner
                                                         Frederick B. Rosner (DE # 3995)
                                                         Zhao (Ruby) Liu (DE# 6436)
                                                         824 N. Market Street, Suite 810
                                                         Wilmington, Delaware 19801
                                                         Tel.: (302) 777-1111
                                                         Email: rosner@teamrosner.com
                                                                 liu@teamrosner.com

                                                         -   and    -

                                                         WIGDOR LLP

                                                         Douglas H. Wigdor, Esquire.
                                                         Bryan L. Arbeit, Esquire
                                                         85 Fifth Ave, Fl. 5
                                                         New York, NY 10003
                                                         Phone: (212) 257-6800
                                                         Email: dwigdor@wigdorlaw.com
                                                                barbeit@wigdorlaw.com

                                                         -   and    -

                                                         THE LAW OFFICE OF KEVIN
                                                         MINTZER, P.C.

                                                         Kevin Mintzer, Esquire
                                                         1350 Broadway, Suite 2220
                                                         New York, New York 10018
                                                         Phone: 646.843.8180
                                                         Email: km@mintzerfirm.com

                                                         Counsel for the Non-Settling Plaintiffs




  {00028766. }                                   6

                                             Exhibit B
                                              Page 32
